

Matter of Zirpoli (2023 NY Slip Op 00713)





Matter of Zirpoli


2023 NY Slip Op 00713


Decided on February 9, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:February 9, 2023

PM-21-23
[*1]In the Matter of Christopher Thomas Zirpoli, an Attorney. (Attorney Registration No. 5054234.)

Calendar Date:January 30, 2023

Before:Egan Jr., J.P., Clark, Pritzker, Ceresia and McShan, JJ.

Christopher Thomas Zirpoli, Annapolis, Maryland, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Christopher Thomas Zirpoli was admitted to practice by this Court in 2012 and lists a business address in Washington, D.C. with the Office of Court Administration. Zirpoli now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Zirpoli's application.
Upon reading Zirpoli's affidavit sworn to December 22, 2022 and filed December 29, 2022, and upon reading the January 26, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Zirpoli is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Clark, Pritzker, Ceresia and McShan, JJ., concur.
ORDERED that Christopher Thomas Zirpoli's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Christopher Thomas Zirpoli's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Christopher Thomas Zirpoli is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Zirpoli is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Christopher Thomas Zirpoli shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








